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 VIA ECF                                                                                        October 12, 2022

 The Honorable Jessica S. Allen, U.S.M.J.
 United States District Court
 King Fed. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07101

                Re:       Jazz Pharmaceuticals Ireland Limited v. Lupin Inc., et al.
                          Civil Action No. 21-14271 (SRC)(JSA) (consolidated)

Dear Judge Allen:

       This firm, together with Quinn Emanuel Urquhart & Sullivan, LLP, represents Plaintiff
Jazz Pharmaceuticals Ireland Limited (“Jazz Pharmaceuticals”) in the above-referenced matter.
We write on behalf of all parties to update the Court on the status of the case in advance of the
October 17, 2022 4:15 p.m. status videoconference with Your Honor. (See D.I. 62.)

       Pursuant to this Court’s June 22 Order (see D.I. 47), the parties exchanged proposed
terms for construction on September 23, 2022. The parties are scheduled to exchange their
preliminary claim constructions and identification of supporting evidence on October 14, 2022,
and their identification of intrinsic and extrinsic evidence to oppose constructions on October 28,
2022. Id. The Joint Claim Construction and Prehearing Statement is due on November 14,
2022. Id. With respect to written discovery, both parties have served and responded to written
discovery.

       The parties look forward to discussing these and any other issues Your Honor wishes to
address during the October 17 status videoconference.

       Thank you for Your Honor’s kind attention to this matter.

                                                                             Respectfully yours,



                                                                             Charles M. Lizza
cc:    All counsel of record (via email)




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